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 7   Administrative Corporation and Board of Trustees
     For the Carpenters Southwest Trusts
 8

 9                          UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11

12   HKB, INC., an Arizona corporation,           No.2: 16-cv-03799-DJH
     doing business as Southwest                  No. 2:17 -cv-00 198-DJH
13   Industrial Rigging,

14                        Plaintiff,
                                                  REQUEST FOR TELEPHONIC
                                                  APPEARANCE AT SCHEDULING
15   v.                                           CONFERENCE
16   Board of Trustees for the
     Carpenters Southwest
17   Trusts, erroneously sued as Board            Before The Honorable
     Of Trustees for the                            Diane J. Humetawa
18   Southwest Carpenter's
     Southwest Trust; et al
19                        Defendants.             H~aring.: October 1, 2018
                                                  Ttme: I :30 p.m.
20   C8!1Jenters Southwest                        Courtroom: 605
     Adrilinistrative Corporation,                O'Connor Courthouse
21   et al                                        401 W. Washington St.
                                                  Phoenix, AZ 85003
22                        Plaintiffs,

23   v.
     H K B Inc., et al
24
                          Defendants.
25

26   Ill
27   Ill
28                                      1
           REQUEST FOR TELEPHONIC APPEARANCE AT SCHEDULING CONFERENCE
      Case 2:16-cv-03799-DJH Document 55 Filed 09/18/18 Page 2 of 3


 1         PURSUANT TO Local Rule 7.2(h), Counsel for Defendants BOARD OF
 2   TRUSTEES FOR THE CARPENTERS SOUTHWEST TRUSTS, erroneously
 3   sued as BOARD OF TRUSTEES FOR THE SOUTHWEST CARPENTER'S
 4   SOUTHWEST TRUST and CARPENTERS SOUTHWEST ADMINISTRATIVE
 5   CORPORATION, ("Defendants"), hereby request to appear telephonically at the
 6   Scheduling Conference set for October I, 2018 at 1:30 p.m.
 7         Defense counsel are located in Los Angeles, California and make this
 8   request in order to avoid passing along to Defendants the expense of travel to
 9   Phoenix, Arizona to attend the proceeding.
10         If the Court grants Defendants' request, Counsel for Defendants will be
11   available for this conference at telephone number (213) 488-4100.
12
     Dated: September 18, 2018             DeCARLO & SHANLEY,
13                                         a Professional Corporation
14
                                           By: c/./A._.~
15                                            Dan1el Shanley
                                              Thomas Davis
16                                         Attorneys for Defendants,
                                           Carpenters Southwest Administrative
17                                         Corporation and Board of Trustees for the
                                           Carpenters Southwest Trusts
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        REQUEST FOR TELEPHONIC APPEARANCE AT SCHEDULING CONFERENCE
            Case 2:16-cv-03799-DJH Document 55 Filed 09/18/18 Page 3 of 3

                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on September 18,2018, I electronically transmitted the attached
    document, REQUEST FOR TELEPHONIC APPEARANCE AT SCHEDULING
    CONFERENCE, to the Clerk's Office using the CM/ECF System for filing and
    transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
          Javier Torres - javier.torres@stinson.com,cynthia.fischer@stinson.com


             Executed on September 18, 2018, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.



                                          Lu      Moure-Pasco, Secretary
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